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                                EXHIBIT F
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Preliminary comparison of U.S. Patent No. 11,308,156 to Samsung SmartThings Find


                                                                    Evidence
 1. A mobile        Samsung provides mobile phones, such as the Samsung Galaxy S22 5G.
 phone system,      https://www.gsmarena.com/samsung_galaxy_s22_5g-11253.php.
 comprising:
 (a) a Bluetooth    Samsung mobile phones, such as the Samsung Galaxy S22 5G, include a Bluetooth radio frequency transceiver.
 radio frequency
 transceiver;       Offline Doesn’t Mean “Off-The-Grid”
                    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                    device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                    "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).

                    A variety of Samsung Galaxy products have Bluetooth capability. As only a few examples, it has been revealed
                    that both the "Samsung Galaxy Note20 5G" (Ref. 1) and the "Galaxy Note20 Ultra 5G" (Ref. 1) include
                    Bluetooth connectivity (see, e.g., Ref. 1); see also https://www.gsmarena.com/samsung_galaxy_s22_5g-
                    11253.php (describing the Bluetooth functionality of the Samsung Galaxy S22 5G).

                    In fact, Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find
                    select Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion in
                    the original).




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 (b) a cellular       Samsung mobile phones, such as the Samsung Galaxy S22 5G, include a cellular wireless transceiver.
 wireless
 transceiver;           NETWORK        Technology       GSM / CDMA / HSPA / EVDO / LTE / 5G

                      https://www.gsmarena.com/samsung_galaxy_s22_5g-11253.php.

 (d) a graphic        Samsung mobile phones, such as the Samsung Galaxy S22 5G, include a graphic display.
 display; and
                        DISPLAY      Type             Dynamic AMOLED 2X, 120Hz, HDR10+, 1300 nits (peak)

                                     Size             6.1 inches, 90.1 cm2 (~87.4% screen-to-body ratio)

                                     Resolution       1080 x 2340 pixels, 19.5:9 ratio (~425 ppi density)

                                     Protection       Corning Gorilla Glass Victus+

                                                      Always-on display
                      https://www.gsmarena.com/samsung_galaxy_s22_5g-11253.php.

 (e) at least one     Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor.
 automated
 processor              PLATFORM        OS               Android 12, upgradable to Android 13, One UI 5.1
 configured to:
                                        Chipset          Exynos 2200 (4 nm) - Europe
                                                         Qualcomm SM8450 Snapdragon 8 Gen 1 (4 nm) - ROW

                                        CPU              Octa-core (1x2.8 GHz Cortex-X2 & 3x2.50 GHz Cortex-A710 & 4x1.8
                                                         GHz Cortex-A510) - Europe
                                                         Octa-core (1x3.00 GHz Cortex-X2 & 3x2.50 GHz Cortex-A710 & 4x1.80
                                                         GHz Cortex-A510) - ROW

                                        GPU              Xclipse 920 - Europe
                                                         Adreno 730 - ROW


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                                        OS               Android 12, upgradable to Android 13, One UI 5.1
                    https://www.gsmarena.com/samsung_galaxy_s22_5g-11253.php.

 (i) control the    Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 Bluetooth radio    configured to control the Bluetooth radio frequency transceiver to automatically directly receive at least an
 frequency          identifier of an adjacent mobile wireless communication device.
 transceiver to
 automatically      Offline Doesn’t Mean “Off-The-Grid”
 directly receive   With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 at least an        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 identifier of an   locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 adjacent mobile    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 wireless           smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 communication      location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 device;            ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                    device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                    "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).

                    A variety of Samsung Galaxy products have Bluetooth capability. As only a few examples, it has been revealed
                    that both the "Samsung Galaxy Note20 5G" (Ref. 1) and the "Galaxy Note20 Ultra 5G" (Ref. 1) include
                    Bluetooth connectivity (see, e.g., Ref. 1); see also https://www.gsmarena.com/samsung_galaxy_s22_5g-
                    11253.php (describing the Bluetooth functionality of the Samsung Galaxy S22 5G).

                    In fact, Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find
                    select Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion
                    in the original).


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                     “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                     items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                     Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                     internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                     tracking (outside the range of BLE).

                     SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                     platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                     "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                     in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                     device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                     can be registered through Samsung SmartThings app.

                     Each registered device is linked to the owner account under which it was registered from. When a registered
                     device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                     device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                     privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                     and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                     parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                     nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                     the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                     devices.”

                     https://arxiv.org/pdf/2210.14702.pdf
 (ii)                Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically       configured to automatically generate a record of the received identifier, along with a time and the global location
 generate a          of the mobile phone system automatically determined by the global positioning system device.
 record of the
 received            This is evidenced, for example, by the fact that a Samsung mobile phone can alert the Samsung server about the
 identifier, along   location of detected off-line devices.
 with a time and
 the global
 location of the

                                                                    4
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 mobile phone       Easily Find More of Your Devices
 system             After completing a quick registration process, SmartThings users can easily find their Galaxy devices – from
 automatically      smartphones, tablets and smartwatches, down to each individual earbud. Whether you dropped your Galaxy
 determined by      Note20 Ultra behind the sofa, can’t remember where you stashed your Galaxy Buds Live, or left your Galaxy
 the global         Watch3 somewhere so secure you can’t find it, the SmartThings Find service will help you keep more of your
 positioning        Galaxy devices safe through the easy-to-use SmartThings app.
 system device;
                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Offline Doesn’t Mean “Off-The-Grid”
                    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

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                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    The SmartThings Find technology reports the identification of the specific object being sought, the time that it
                    was found, and the location that this lost object occupies (see, e.g., screenshots included in Ref. 3 and in Ref. 5).
                    For instance, it has been written that "Samsung customers quickly locate registered Galaxy devices" (Ref. 4).
                    Clearly, in order for the registration to be useful, it must necessarily include the identification of the lost object.

                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.


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                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 (iii)              Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically      configured to automatically transmit the record to a remote automated searchable database through the cellular
 transmit the       wireless transceiver.
 record to a
 remote             Offline Doesn’t Mean “Off-The-Grid”
 automated          With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 searchable         because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 database           locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 through the        received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy

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 cellular wireless   smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 transceiver;        location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                     ensuring that the device’s location is not revealed to anyone except its owner.

                     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                     Samsung Global Newsroom




                     Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                     As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                     specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                     screenshots included in Ref. 3 and in Ref. 5). For instance, it has been written that "Samsung customers quickly
                     locate registered Galaxy devices" (Ref. 4). Clearly, in order for the registration to be useful, it must necessarily
                     include the identification of the lost object.

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                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in Bakersfield.

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 (iv)               Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically      configured to automatically communicate information from the mobile phone system to the remote automated

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 communicate          searchable database through the cellular wireless transceiver to search at least global locations associated with
 information          records stored in the remote automated searchable database.
 from the mobile
 phone system to      For example, when someone uses a Samsung Galaxy phone to associate a Samsung SmartTag with the phone, the
 the remote           phone will then communicate information to the Samsung database to search global locations associated with
 automated            records stored in the remote automated searchable database. This is evidenced by the fact that the location of the
 searchable           SmartTag is displayed on the user’s device.
 database
 through the
 cellular wireless
 transceiver to
 search at least
 global locations
 associated with
 records stored in
 the remote
 automated
 searchable
 database;




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                    Moreover, the phone can receive notifications when a different device has spotted the tag.




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                            •   Notify when left behind - Enable this to receive a notification when the device is far away from your
                                phone
                            •   Notify me when it's found - Enable this to get a notification when that device is anonymously
                                detected by a member of the SmartThings Find community

                      https://support.smartthings.com/hc/en-us/articles/10863369660052-SmartThings-Find


 (v)                  Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically        configured to automatically receive information about an event along with a time and global location of the event
 receive              from the remote automated searchable database through the cellular wireless transceiver responsive to the
 information          automatically communicated information.
 about an event
 along with a         For example, when someone uses a Samsung Galaxy phone to associate a Samsung SmartTag with the phone, the
 time and global      phone will receive information about events, including a time and location, from the Samsung database.
 location of the
 event from the
 remote
 automated
 searchable
 database
 through the
 cellular wireless
 transceiver
 responsive to
 the
 automatically
 communicated
 information;




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                    Moreover, the phone can receive notifications when a different device has spotted the tag.




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                           •   Notify when left behind - Enable this to receive a notification when the device is far away from your
                               phone
                           •   Notify me when it's found - Enable this to get a notification when that device is anonymously
                               detected by a member of the SmartThings Find community

                     https://support.smartthings.com/hc/en-us/articles/10863369660052-SmartThings-Find
 (vii)               Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically       configured to automatically present a global positioning system referenced map on the graphic display.
 present a global
 positioning
 system
 referenced map
 on the graphic
 display; and




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 (viii)               Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor
 automatically        configured to automatically display within the global positioning system referenced map, at least the global
 display within       location information of the event received through the cellular wireless transceiver from the remote automated
 the global           searchable database.
 positioning
 system
 referenced map,
 at least the
 global location
 information of
 the event
 received
 through the
 cellular wireless
 transceiver from
 the remote
 automated
 searchable
 database.




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 2. The mobile        As shown by the evidence cited regarding claim 1, the Samsung database is configured to receive a plurality of
 phone system         records each comprising a received identifier, along with a time and a global location of the mobile phone system
 according            determined by the global positioning system device, wherein the received plurality of records are stored in the
 to claim 1,          remote automated searchable database, searchable by the remote automated searchable database, and retrieved as
 wherein the          the event from the remote automated searchable database.
 remote
 automated
 searchable
 database is
 configured to
 receive a
 plurality of
 records each
 comprising a
 received
 identifier, along
 with a time and
 a global location
 of the mobile
 phone system
 determined by
 the global
 positioning
 system device,
 wherein the
 received
 plurality of
 records are
 stored in the
 remote
 automated
 searchable
 database,

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 searchable by
 the remote
 automated
 searchable
 database, and
 retrieved as the
 event from the
 remote
 automated
 searchable
 database.




 3. The mobile       Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor configured
 phone system        to display the global location on the map where the adjacent mobile wireless communication device was at the
 according           time of receipt of the identifier from the adjacent mobile wireless communication device.
 to claim 1,

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 wherein the at
 least one
 automated
 processor is
 further
 configured to
 display the
 global location
 on the map
 where the
 adjacent mobile
 wireless
 communication
 device was at
 the time of
 receipt of the
 identifier from
 the adjacent
 mobile wireless
 communication
                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans
 device.
 4. The mobile      Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor configured
 phone system       to perform mobile ad hoc surveillance of phones by transmitting through the cellular wireless transceiver data from
 according          another mobile phone system received through the Bluetooth radio frequency transceiver.
 to claim 1,
 wherein the at     Offline Doesn’t Mean “Off-The-Grid”
 least one          With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 automated          because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 processor is       locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 further            received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 configured to      smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 perform mobile     location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 ad hoc             ensuring that the device’s location is not revealed to anyone except its owner.

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 surveillance of
 the adjacent         Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 mobile wireless      Samsung Global Newsroom
 communication
 device by
 transmitting
 through the
 cellular wireless
 transceiver data
 from the
 adjacent mobile
 wireless
 communication
 device received
 through the
 Bluetooth radio
 frequency
 transceiver.




                      Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                      “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                      items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                      Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                      internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                      tracking (outside the range of BLE).

                      SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                      platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the

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                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 5. The mobile      Samsung mobile phones, such as the Samsung Galaxy S22 5G, include a Bluetooth radio frequency transceiver
 phone system       configured to receive a periodically transmitted identifier of a respective adjacent mobile wireless communication
 according          device.
 to claim 1,
 wherein the        For example, on information and belief, once a device has been off-line for 30 minutes, it will periodically
 Bluetooth radio    produce a BLE signal.
 frequency
 transceiver is     Offline Doesn’t Mean “Off-The-Grid”
 configured to      With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 receive a          because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 periodically       locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 transmitted        received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 identifier of a    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 respective         location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 adjacent mobile    ensuring that the device’s location is not revealed to anyone except its owner.
 wireless


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 device.            Samsung Global Newsroom

                    "In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf

 6. The mobile      Samsung mobile phones, such as the Samsung Galaxy S22 5G, include at least one automated processor configured
 phone system       to store each of a plurality of received identifiers along with a respective time and a respective determined global
 according          location of each respective received identifier.
 to claim 1,
 wherein the at

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 least one
 automated            Offline Doesn’t Mean “Off-The-Grid”
 processor is
 further              With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 configured to        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 store each of a      locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 plurality of         received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 received             smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 identifiers along    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 with a               ensuring that the device’s location is not revealed to anyone except its owner.
 respective time
 and a respective     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 determined           Samsung Global Newsroom
 global location
 of each              “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
 respective           items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
 received             Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
 identifier.          internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                      tracking (outside the range of BLE).

                      SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                      platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                      "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                      in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                      device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                      can be registered through Samsung SmartThings app.

                      Each registered device is linked to the owner account under which it was registered from. When a registered
                      device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                      device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                      privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                      and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                      parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from

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                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 7. A method for    On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user performs
 tracking a         any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the performance of
 mobile device,     that step as disclosed herein. For example, on information and belief, a user cannot use the accused instrumentality
 comprising:        as described in this claim chart without performance of the steps recited in this claim. By providing the
                    functionality of the accused instrumentality as described herein, Defendant also controls the manner and/or timing
                    of the functionality described in this claim chart. In other words, for a user to utilize the functionality described in
                    this claim chart, the steps of this claim must be performed in the manner described herein. Without performance
                    of the steps as described herein, the Defendant’s functionality will not be available to users.

                    Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method for tracking a mobile device.

                    Offline Doesn’t Mean “Off-The-Grid”
                    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung offers a technology named "SmartThings Find" (see, e.g., Ref. 2; Ref. 3; Ref. 4) "that helps you quickly
                    and easily locate Galaxy devices" (Ref. 2).

                    Similarly, another document explains that SmartThings Find "lets Samsung customers quickly locate registered
                    Galaxy devices including smartphones, tablets, smartwatches and earbuds" (Ref. 4).

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                    Furthermore, "Samsung will further expand these capabilities to tracking tags, which will help users locate their
                    favorite items, not only for Galaxy devices, but also others as well" (Ref. 2).

                    Indeed, it has been emphasized that SmartThings Find "can also locate your personal things like keys and wallet
                    after attaching them with Galaxy SmartTag or SmartTag+" (Ref. 4).

                    In short, Samsung "will also make this functionality available to tracking tags, this will help users locate their
                    favorite items, other than Galaxy devices" (Ref. 5).

                    Moreover, "On July 14 [2022], Samsung disclosed that the rapidly growing SmartThings Find service is now
                    comprised of more than 200 million find nodes" (Ref. 4) (clarifying material in square brackets added here). It
                    is further explained that, by definition, "Find nodes are devices that have been registered on the SmartThings
                    Find service" (Ref. 4).

                    In fact, it has been stated that "Smart[T]hings [is] one of the fastest growing services at Samsung" (Ref. 4)
                    (clarifying material in square brackets added here).

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung

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                     and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                     parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                     nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                     the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                     devices.”

                     https://arxiv.org/pdf/2210.14702.pdf
 automatically       Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method for tracking a mobile device,
 receiving an        comprising automatically receiving an identification directly on a mobile device from an adjacent mobile device
 identification      using a Bluetooth transceiver at a location.
 directly on a
 mobile device       Offline Doesn’t Mean “Off-The-Grid”
 from an adjacent    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 mobile device       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 using a             locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 Bluetooth           received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 transceiver at a    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 location;           location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                     ensuring that the device’s location is not revealed to anyone except its owner.

                     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
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                     Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                     device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                     received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                     "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).

                     A variety of Samsung Galaxy products have Bluetooth capability. As only a few examples, it has been revealed
                     that both the "Samsung Galaxy Note20 5G" (Ref. 1) and the "Galaxy Note20 Ultra 5G" (Ref. 1) include
                     Bluetooth connectivity (see, e.g., Ref. 1); see also https://www.gsmarena.com/samsung_galaxy_s22_5g-
                     11253.php (describing the Bluetooth functionality of the Samsung Galaxy S22 5G).



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                    In fact, Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find
                    select Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion
                    in the original).

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 automatically      Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes automatically
 determining the    determining the location with a GPS geolocation system.
 location with a
 GPS


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 geolocation        Easily Find More of Your Devices
 system;            After completing a quick registration process, SmartThings users can easily find their Galaxy devices – from
                    smartphones, tablets and smartwatches, down to each individual earbud. Whether you dropped your Galaxy
                    Note20 Ultra behind the sofa, can’t remember where you stashed your Galaxy Buds Live, or left your Galaxy
                    Watch3 somewhere so secure you can’t find it, the SmartThings Find service will help you keep more of your
                    Galaxy devices safe through the easy-to-use SmartThings app.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    It is well-known that many Samsung Galaxy product include GPS-based location capability. For instance,
                    Reference 6 shows how to set up a Galaxy device location modality using "GPS and Wi-Fi"; using "Wi-Fi only";
                    or using "GPS only."
 automatically      Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes automatically
 recording the      recording the received identification along with a time and the location at the time of the received identification.
 received
 identification     This is evidenced, for example, by the fact that a Samsung mobile phone can alert the Samsung server about the
 along with a       location of detected off-line devices.
 time and the
 location at the    Offline Doesn’t Mean “Off-The-Grid”
 time of the        With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 received           because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 identification;    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

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                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    The SmartThings Find technology reports the identification of the specific object being sought, the time that it
                    was found, and the location that this lost object occupies (see, e.g., screenshots included in Ref. 3 and in Ref. 5).
                    For instance, it has been written that "Samsung customers quickly locate registered Galaxy devices" (Ref. 4).
                    Clearly, in order for the registration to be useful, it must necessarily include the identification of the lost object.

                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.


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                     “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                     items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                     Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                     internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                     tracking (outside the range of BLE).

                     SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                     platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                     "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                     in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                     device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                     can be registered through Samsung SmartThings app.

                     Each registered device is linked to the owner account under which it was registered from. When a registered
                     device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                     device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                     privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                     and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                     parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                     nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                     the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                     devices.”

                     https://arxiv.org/pdf/2210.14702.pdf
 automatically       Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes automatically
 transmitting the    transmitting the received identification along with the time and the location to a remote automated searchable
 received            database through a cellular phone connection as a respective database record.
 identification
 along with the      Offline Doesn’t Mean “Off-The-Grid”
 time and the        With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 location to a       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 remote              locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 automated           received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy

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 searchable          smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 database            location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 through a           ensuring that the device’s location is not revealed to anyone except its owner.
 cellular phone
 connection as a     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 respective          Samsung Global Newsroom
 database record;
 and




                     Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                     As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                     specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                     screenshots included in Ref. 3 and in Ref. 5). For instance, it has been written that "Samsung customers quickly
                     locate registered Galaxy devices" (Ref. 4). Clearly, in order for the registration to be useful, it must necessarily
                     include the identification of the lost object.

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                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

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 automatically       Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes automatically
 displaying an       displaying an icon at a location on a map selectively dependent on a communication received from the remote
 icon at a           automated searchable database representing a respective database record.
 location on a
 map selectively     Offline Doesn’t Mean “Off-The-Grid”
 dependent on a      With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 communication       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 received from       locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 the remote          received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 automated           smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 searchable          location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 database            ensuring that the device’s location is not revealed to anyone except its owner.
 representing a
 respective          Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
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                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
                    device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                    reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                    can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                    with a corresponding icon at a specific map location.

                    Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                    locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                    selected" (Ref. 4).




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                    Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                    maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                    your missing device is a breeze with integrated map directions" (Ref. 2).

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 wherein the        Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes a remote automated
 remote             searchable database that comprises a plurality of database records, each database record comprising information
 automated          to search and map a respective location of a respective adjacent mobile device at a respective time it was
 searchable         detected by a respective mobile device.
 database

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 comprises a        This is evidenced, for example, by the fact that the Samsung server can map search and map the location of a
 plurality of       detected off-line mobile device based on the location of the mobile device that detected the off-line device.
 database
 records, each      Offline Doesn’t Mean “Off-The-Grid”
 database record    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 comprising         because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 information to     locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 search and map     received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 a respective       smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 location of a      location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 respective         ensuring that the device’s location is not revealed to anyone except its owner.
 adjacent mobile
 device at a        Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 respective time    Samsung Global Newsroom
 it was detected
 by a respective
 mobile device.




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                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    As explained in the section associated with the claim element immediately above, Samsung's SmartThings Find
                    technology includes the capability to show the location on a map of the lost Galaxy device (see, e.g., screenshots
                    included in Ref. 3 and in Ref. 5). Similarly, in a companion document, Samsung reveals that "Your smartphone
                    will then show you the exact location of your device on a map" (Ref. 2).

                    It is also explained that "SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to
                    help others locate their lost devices...If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you" (excerpted from Ref. 2). This "Samsung server" houses the "remote
                    automated searchable database" recited in this portion of the patent claim.

                    As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                    specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                    screenshots included in Ref. 3 and in Ref. 5).

                    In particular, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.
                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices

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                     in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                     device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                     can be registered through Samsung SmartThings app.

                     Each registered device is linked to the owner account under which it was registered from. When a registered
                     device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                     device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                     privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                     and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                     parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                     nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                     the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                     devices.”

                     https://arxiv.org/pdf/2210.14702.pdf
 8. The method       On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 7,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 mobile device       providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 comprises a         manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 graphic display,    functionality described in this claim chart, the steps of this claim must be performed in the manner described
 further             herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 comprising          to users.
 displaying a
 location where      Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes a graphic display,
 the adjacent        further comprising displaying a location where the adjacent mobile device was detected on the map.
 mobile device
 was detected on     Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
 the map.            device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                     reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                     can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                     with a corresponding icon at a specific map location.

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                    Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                    locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                    selected" (Ref. 4).

                    Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                    maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                    your missing device is a breeze with integrated map directions" (Ref. 2).
 9. The method      On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according          performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 7,        performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 further            accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 comprising         providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 performing         manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 mobile ad hoc      functionality described in this claim chart, the steps of this claim must be performed in the manner described
 surveillance of    herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 an adjacent        to users.
 mobile device
 by transmitting    Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that includes performing mobile
 through the        ad hoc surveillance of an adjacent mobile device by transmitting through the cellular phone connection, to the
 cellular phone     remote automated searchable database, data from the adjacent mobile device received through the Bluetooth
 connection, to     transceiver.
 the remote
 automated          Offline Doesn’t Mean “Off-The-Grid”
 searchable         With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 database, data     because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 from the           locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 adjacent mobile    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 device received    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 through the        location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 Bluetooth          ensuring that the device’s location is not revealed to anyone except its owner.
 transceiver.


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                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                    items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                    Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                    internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                    tracking (outside the range of BLE).

                    SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                    platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                    "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                    in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                    device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                    can be registered through Samsung SmartThings app.

                    Each registered device is linked to the owner account under which it was registered from. When a registered
                    device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                    device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                    privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                    and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                    parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                    nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                    the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                    devices.”

                    https://arxiv.org/pdf/2210.14702.pdf
 10. The method     On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according          performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 7,        performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the        accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 Bluetooth          providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 transceiver        manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the

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 receives the         functionality described in this claim chart, the steps of this claim must be performed in the manner described
 identification as    herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 a periodic           to users.
 transmission
 from the             On information and belief, Samsung mobile phones, such as the Samsung Galaxy S22 5G, utilize a method that
 adjacent mobile      includes the Bluetooth transceiver receiving the identification as a periodic transmission from the adjacent
 devices.             mobile devices.

                      For example, on information and belief, when a Samsung device has been offline for 30 minutes, it periodically
                      produces a BLE signal that is, in turn, periodically received by nearby Samsung devices.

                      Offline Doesn’t Mean “Off-The-Grid”
                      With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                      because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                      locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                      received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                      smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                      location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                      ensuring that the device’s location is not revealed to anyone except its owner.

                      Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                      Samsung Global Newsroom

                      Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                      device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                      received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                      "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).

                      “In 2021, Samsung released the Galaxy SmartTag, which is a small BLE tracker that can be attached to various
                      items, such as bags, keys, etc., to keep track of their locations and to find them when lost.
                      Unlike smart phones or tablets, SmartTags are designed exclusively to be used as a tracking device, with no
                      internet connectivity. So they rely crucially on the Offline Finding (OF) network to allow for long range location
                      tracking (outside the range of BLE).

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                     SmartTags are registered and controlled through SmartThings, which is an umbrella control and management
                     platform for a large variety of smart devices and home appliances. OF is also supported for SmartTags using the
                     "SmartThings Find" addon which works in conjunction with Find My Mobile (FMM). At a basic level, devices
                     in Samsung’s OF network can be categorized into three roles: the owner device, the finder device, and the lost
                     device. A mobile device can be registered to the Samsung OF network through the FMM app, while a SmartTag
                     can be registered through Samsung SmartThings app.

                     Each registered device is linked to the owner account under which it was registered from. When a registered
                     device loses internet connectivity, or in the case of SmartTags, when it is out of the BLE range from its owner
                     device, it broadcasts certain data over BLE periodically. This data contains a rotating identifier, called the
                     privacy ID, which is unique to the lost device and which, in theory, can only be linked to its owner by Samsung
                     and the owner device. The finder devices consist of both Samsung devices (phones and tablets), and some third
                     parties’ devices with FMM enabled. An active finder device periodically scans for BLE advertisements from
                     nearby FMM devices and reports the locations of those devices to a Samsung’s server. The location reports of
                     the lost devices will be downloaded onto the owner device when the owner queries the locations of their lost
                     devices.”

                     https://arxiv.org/pdf/2210.14702.pdf

 11. The method      On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 7,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 remote              providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 automated           manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 searchable          functionality described in this claim chart, the steps of this claim must be performed in the manner described
 database is a       herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 centralized         to users.
 community
 search database.    Any nearby Galaxy smartphone or tablet that has opted into helping find misplaced devices can alert the
                     Samsung server about its location. "When a registered device loses internet connectivity, or in the case of


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                     SmartTags, when it is out of the BLE range from its owner device, it broadcasts certain data over BLE
                     periodically." https://arxiv.org/pdf/2210.14702.pdf.

                     Samsung has also revealed that "If you report your device as lost via SmartThings Find, any nearby Galaxy
                     smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                     location" (Ref. 2). This "Samsung server" houses the "remote automated searchable database" recited in this
                     portion of the patent claim.

                     And, the above-listed "Samsung server" is "centralized" as recited in this patent claim.

                     Furthermore, the other users that have "opted into helping find misplaced devices" (Ref. 2) constitute the
                     population of the "community search database" recited in this portion of the patent claim.
 12. The method      On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 7,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 remote              providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 automated           manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 searchable          functionality described in this claim chart, the steps of this claim must be performed in the manner described
 database is         herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 configured to       to users.
 receive
 identifications     Samsung has revealed that "If you report your device as lost via SmartThings Find, any nearby Galaxy
 from a plurality    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 of mobile           location" (Ref. 2). This "Samsung server" houses the "remote automated searchable database" recited in this
 devices.            portion of the patent claim.

                     Furthermore, the other users that have "opted into helping find misplaced devices" (Ref. 2) constitute the
                     population of the "community search database" recited in this portion of the patent claim.


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